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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT


  GRADUATION SOLUTIONS LLC,
                                                 Case No. 17-cv-1342 (VLB)
                                  Plaintiff,


                  -against-


  ACADIMA, LLC and ALEXANDER
  LOUKAIDES,

                                  Defendants.



            DEFENDANT ALEXANDER LOUKAIDES’ ANSWER AND
       AFFIRMATIVE DEFENSES TO THE SECOND AMENDED COMPLAINT

      Defendant Alexander Loukaides (“Loukaides”), by and through his

undersigned attorneys, for his Answer and Affirmative Defenses to the Second

Amended Complaint of Graudation Solutions LLC, states as follows, on

knowledge as to himself and on information and belief as to all other matters,

which are likely to have evidentiary support after a reasonable opportunity for

discovery:

                                     ANSWER

                          INTRODUCTORY STATEMENT

      1.     To the extent that Paragraph 1 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 1.
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                            JURISDICTION AND VENUE

      2.     To the extent that Paragraph 2 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 2.

      3.     To the extent that Paragraph 3 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 3.

      4.     Loukaides denies the allegations contained in Paragraph 4.

      5.     Loukaides denies the allegations contained in Paragraph 5.

      6.     To the extent that Paragraph 6 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 6.

                                   THE PARTIES

      7.     Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 7.

      8.     To the extent that Paragraph 8 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 8.

      9.     Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 9.




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      10.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 10.

      11.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 11.

      12.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 12.

      13.    Loukaides respectfully refers to the “filings” referenced in Paragraph

13 for an accurate representation of their contents, and denies the allegations

contained in Paragraph 13 to the extent the allegations are inconsistent.

      14.       Loukaides respectfully refers to the “filings” referenced in

Paragraph 14 for an accurate representation of their contents, and denies the

allegations contained in Paragraph 14 to the extent the allegations are

inconsistent.

      15.    Loukaides respectfully refers to the “database” referenced in

Paragraph 15 for an accurate representation of its contents, and denies the

allegations contained in Paragraph 15 to the extent the allegations are

inconsistent.

      16.    Loukaides denies the allegations contained in Paragraph 16.

      17.    Loukaides denies the allegations contained in Paragraph 17.

      18.    Loukaides denies the allegations contained in Paragraph 18.

      19.    Loukaides denies the allegations contained in Paragraph 19.

      20.    Loukaides respectfully refers to the “webpage” referenced in

Paragraph 20 for an accurate representation of its contents, and denies the



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allegations contained in Paragraph 20 to the extent the allegations are

inconsistent.

      21.   Loukaides respectfully refers to the “filings” referenced in Paragraph

21 for an accurate representation of their contents, and denies the allegations

contained in Paragraph 21 to the extent the allegations are inconsistent.

      22.   Loukaides denies the allegations contained in Paragraph 22.

      23.   Loukaides denies the allegations contained in Paragraph 23.

      24.   Loukaides respectfully refers to the “website” referenced in

Paragraph 24 for an accurate representation of its contents, and denies the

allegations contained in Paragraph 24 to the extent the allegations are

inconsistent.

      25.   Loukaides denies the allegations contained in Paragraph 25.

      26.   Loukaides denies the allegations contained in Paragraph 26.

      27.   Loukaides respectfully refers to the “website” referenced in

Paragraph 27 for an accurate representation of its contents, and denies the

allegations contained in Paragraph 27 to the extent the allegations are

inconsistent.

      28.   Loukaides respectfully refers to the website referenced in Paragraph

28 for an accurate representation of its contents, and denies the allegations

contained in Paragraph 28 to the extent the allegations are inconsistent.

      29.   Loukaides denies the allegations contained in Paragraph 29.

      30.   Loukaides denies the allegations contained in Paragraph 30.




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      31.    Loukaides respectfully refers to the website referenced in Paragraph

31 for an accurate representation of its contents, and denies the allegations

contained in Paragraph 31 to the extent the allegations are inconsistent.

      32.    Loukaides denies the allegations contained in Paragraph 32.

      33.    Loukaides respectfully refers to the website referenced in Paragraph

33 for an accurate representation of its contents, and denies the allegations

contained in Paragraph 33 to the extent the allegations are inconsistent.

      34.    Loukaides denies the allegations contained in Paragraph 34.

      35.    Loukaides respectfully refers to the website referenced in Paragraph

35 for an accurate representation of its contents, and denies the allegations

contained in Paragraph 35 to the extent the allegations are inconsistent.

      36.    Loukaides denies the allegations contained in Paragraph 36.

      37.    Loukaides respectfully refers to the website referenced in Paragraph

37 for an accurate representation of its contents, and denies the allegations

contained in Paragraph 37 to the extent the allegations are inconsistent.

      38.    Loukaides denies the allegations contained in Paragraph 38.

      39.    Loukaides respectfully refers to the website referenced in Paragraph

39 for an accurate representation of its contents, denies the allegations contained

in Paragraph 39 to the extent the allegations are inconsistent, and denies

knowledge or information sufficient to form a belief as to the truth of the

allegation that the website referenced in Paragraph 39 “ships merchandise to

customers in Connecticut.”

      40.    Loukaides denies the allegations contained in Paragraph 40.



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      41.    Loukaides denies the allegations contained in Paragraph 41.

      42.    Loukaides respectfully refers to the website referenced in Paragraph

42 for an accurate representation of its contents, and otherwise denies the

allegations contained in Paragraph 42.

      43.    Loukaides denies the allegations contained in Paragraph 43.

      44.    Loukaides denies the allegations contained in Paragraph 44.

      45.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 45.

      46.    Loukaides denies the allegations contained in Paragraph 46.

      47.    Loukaides respectfully refers to the communication referenced in

Paragraph 47 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 47.

      48.    Loukaides respectfully refers to the communication referenced in

Paragraph 48 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 48.

      49.    Loukaides respectfully refers to the communication referenced in

Paragraph 49 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 49.

      50.    Loukaides denies the allegations contained in Paragraph 50.

                  FACTS COMMON TO ALL CLAIMS FOR RELIEF

      51.    To the extent that Paragraph 51 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,




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Loukaides denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 51.

      52.    Loukaides respectfully refers to the website referenced in Paragraph

52 for an accurate representation of its contents, and denies the allegations

contained in Paragraph 52 to the extent the allegations are inconsistent.

      53.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 53, and

respectfully refers to “Exhibit A” referenced in Paragraph 53 for an accurate

representation of its contents.

      54.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 54, and

respectfully refers to “Exhibit B” referenced in Paragraph 54 for an accurate

representation of its contents.

      55.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 55.

      56.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 56.

      57.    To the extent that Paragraph 57 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 57.

      58.    Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 58.



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      59.    To the extent that Paragraph 59 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 59.

      60.    To the extent that Paragraph 60 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 60.

      61.    To the extent that Paragraph 61 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 61.

      62.    Loukaides denies the allegations contained in Paragraph 62.

      63.    Loukaides denies the allegations contained in Paragraph 63.

      64.    Loukaides denies the allegations contained in Paragraph 64.

      65.    Loukaides denies the allegations contained in Paragraph 65.

      66.    Loukaides denies the allegations contained in Paragraph 66.

      67.    Loukaides denies the allegations contained in Paragraph 67.

      68.    Loukaides denies the allegations contained in Paragraph 68.

      69.    Loukaides denies the allegations contained in Paragraph 69.

      70.    Loukaides denies the allegations contained in Paragraph 70.




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      71.   Loukaides respectfully refers to the “filings” referenced in Paragraph

71 for an accurate representation of their contents, and otherwise denies the

allegations contained in Paragraph 71.

      72.   Loukaides denies the allegations contained in Paragraph 72.

      73.   Loukaides denies the allegations contained in Paragraph 73.

      74.   Loukaides denies the allegations contained in Paragraph 74.

      75.   Loukaides denies the allegations contained in Paragraph 75.

      76.   Loukaides denies the allegations contained in Paragraph 76.

      77.   Loukaides denies the allegations contained in Paragraph 77.

      78.   Loukaides denies the allegations contained in Paragraph 78.

      79.   Loukaides denies the allegations contained in Paragraph 79.

      80.   Loukaides denies the allegations contained in Paragraph 80.

      81.   Loukaides denies the allegations contained in Paragraph 81.

      82.   Loukaides denies the allegations contained in Paragraph 82.

      83.   Loukaides respectfully refers to the communication referenced in

Paragraph 83 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 83.

      84.   Loukaides respectfully refers to the communication referenced in

Paragraph 84 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 84.

      85.   Loukaides respectfully refers to the communication referenced in

Paragraph 85 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 85.



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      86.   Loukaides respectfully refers to the communication referenced in

Paragraph 86 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 86.

      87.   Loukaides respectfully refers to the communication referenced in

Paragraph 87 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 87.

      88.   Loukaides respectfully refers to the communication referenced in

Paragraph 88 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 88.

      89.   Loukaides denies the allegations contained in Paragraph 89.

      90.   Loukaides denies the allegations contained in Paragraph 90.

      91.   Loukaides respectfully refers to the “website” referenced in

Paragraph 91 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 91.

      92.   Loukaides denies the allegations contained in paragraph 92.

      93.   Loukaides denies the allegations contained in Paragraph 93.

      94.   Loukaides denies the allegations contained in Paragraph 94.

      95.   Loukaides denies the allegations contained in Paragraph 95.

      96.   Loukaides denies the allegations contained in Paragraph 96.

      97.   Loukaides denies the allegations contained in Paragraph 97.

      98.   Loukaides denies the allegations contained in Paragraph 98.




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       99.    Loukaides respectfully refers to the communication referenced in

Paragraph 99 for an accurate representation of its contents, and otherwise denies

the allegations contained in Paragraph 99.

       100.   Loukaides denies the allegations contained in Paragraph 100.

       101.   Loukaides admits that he sold his interest in Acadima to Frank A.

Seviane in the spring of 2016, and otherwise denies knowledge or information

sufficient to form a belief as to the truth of the allegations contained in Paragraph

101.

       102.   Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 102.

       103.   Loukaides respectfully refers to the “Voluntary Petition” referenced

in Paragraph 103 for an accurate representation of its contents, and denies the

allegations contained in Paragraph 103 to the extent the allegations are

inconsistent.

       104.   Loukaides respectfully refers to the “Voluntary Petition” referenced

in Paragraph 104 for an accurate representation of its contents, and denies the

allegations contained in Paragraph 104 to the extent the allegations are

inconsistent.

       105.   Loukaides respectfully refers to the “Notice of Bankruptcy”

referenced in Paragraph 105 for an accurate representation of its contents, and

denies the allegations contained in Paragraph 105 to the extent the allegations

are inconsistent.




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      106.   Loukaides respectfully refers to the “Notice of Bankruptcy”

referenced in Paragraph 106 for an accurate representation of its contents, and

denies the allegations contained in Paragraph 106 to the extent the allegations

are inconsistent.

      107.   Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 107.

      108.   Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 108.

      109.   Loukaides denies the allegations contained in Paragraph 109.

      110.   Loukaides denies the allegations contained in Paragraph 110.

      111.   Loukaides respectfully refers to the communications referenced in

Paragraph 111 for an accurate representation of their contents, and otherwise

denies the allegations contained in Paragraph 111.

      112.   Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 112.

      113.   Loukaides denies the allegations contained in Paragraph 113.

      114.   Loukaides denies the allegations contained in Paragraph 114.

      115.   Loukaides respectfully refers to the websites referenced in

Paragraph 115 for an accurate representation of their contents, and otherwise

denies the allegations contained in Paragraph 115.

      116.   To the extent that Paragraph 116 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 116.



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      117.   To the extent that Paragraph 117 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 117.

      118.   Loukaides denies the allegations contained in Paragraph 118.

      119.   Loukaides respectfully refers to the “Report of No Distribution”

referenced in Paragraph 119 for an accurate representation of its contents, and

otherwise denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 119.

      120.   Loukaides denies knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 120.

      121.   To the extent that Paragraph 121 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 121.

                            FIRST CLAIM FOR RELIEF
                           COPYRIGHT INFRINGEMENT

      122.   Loukaides repeats and realleges his response to each and every

allegation of the preceding paragraphs with the same force and effect as if set

forth fully herein.

      123.   To the extent that Paragraph 123 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 123.




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      124.   To the extent that Paragraph 124 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 124.

      125.   To the extent that Paragraph 125 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 125.

      126.   To the extent that Paragraph 126 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 126.

      127.   To the extent that Paragraph 127 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 127.

      128.   To the extent that Paragraph 128 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 128.

      129.   To the extent that Paragraph 129 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,




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Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 129.

      130.   To the extent that Paragraph 130 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 130.

      131.   Loukaides denies the allegations contained in Paragraph 131.

      132.   Loukaides denies the allegations contained in Paragraph 132.

      133.   Loukaides denies the allegations contained in Paragraph 133.

      134.   Loukaides denies the allegations contained in Paragraph 134.

      135.   Loukaides denies the allegations contained in Paragraph 135.

      136.   Loukaides denies the allegations contained in Paragraph 136.

      137.   Loukaides denies the allegations contained in Paragraph 137.

      138.   Loukaides denies the allegations contained in Paragraph 138.

      139.   Loukaides denies the allegations contained in Paragraph 139.

      140.   Loukaides denies the allegations contained in Paragraph 140.

      141.   Loukaides denies the allegations contained in Paragraph 141.

      142.   To the extent that Paragraph 142 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 142.

      143.   Loukaides denies the allegations contained in Paragraph 143.




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      144.      To the extent that Paragraph 144 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 144.




                      SECOND CLAIM FOR RELIEF
       TRADE DRESS INFRINGEMENT AND UNFAIR COMPETITION UNDER
                            LANHAM ACT

      145.      Loukaides repeats and realleges his response to each and every

allegation of the preceding paragraphs with the same force and effect as if set forth

fully herein.

      146.      To the extent that Paragraph 146 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 146.

      147.      To the extent that Paragraph 147 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 147.

      148.      To the extent that Paragraph 148 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies knowledge or information sufficient to from a belief as to the

truth of the allegations contained in Paragraph 148.



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      149.   Loukaides denies the allegations contained in Paragraph 149.

      150.   Loukaides denies the allegations contained in Paragraph 150.

      151.   Loukaides denies the allegations contained in Paragraph 151.

      152.   Loukaides denies the allegations contained in Paragraph 152.

      153.   Loukaides denies the allegations contained in Paragraph 153.

      154.   Loukaides denies the allegations contained in Paragraph 154.

      155.   Loukaides denies the allegations contained in Paragraph 155.

      156.   Loukaides denies the allegations contained in Paragraph 156.

      157.   Loukaides denies the allegations contained in Paragraph 157.

      158.   To the extent that Paragraph 158 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 158.

      159.   Loukaides denies the allegations contained in Paragraph 159.

                             THIRD CLAIM FOR RELIEF
                      FALSE ADVERTISING UNDER LANHAM ACT

      160.   Loukaides repeats and realleges his response to each and every

allegation of the preceding paragraphs with the same force and effect as if set

forth fully herein.

      161.   Loukaides respectfully refers to the website referenced in Paragraph

161 for an accurate representation of its contents, and denies the allegations

contained in Paragraph 161 to the extent the allegations are inconsistent.

      162.   Loukaides respectfully refers to the websites referenced in

Paragraph 162 for an accurate representation of their contents, and denies the




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allegations contained in Paragraph 162 to the extent the allegations are

inconsistent.

      163.   Loukaides denies the allegations contained in Paragraph 163.

      164.   Loukaides denies the allegations contained in Paragraph 164.

      165.   Loukaides denies the allegations contained in Paragraph 165.

      166.   Loukaides denies the allegations contained in Paragraph 166.

      167.   Loukaides denies the allegations contained in Paragraph 167.

      168.   Loukaides denies the allegations contained in Paragraph 168.

      169.   Loukaides denies the allegations contained in Paragraph 169.

                       FOURTH CLAIM FOR RELIEF
         VIOLATION OF CONNECTICUT UNFAIR TRADE PRACTICES ACT

      170.   Loukaides repeats and realleges his response to each and every

allegation of the preceding paragraphs with the same force and effect as if set

forth fully herein.

      171.   Loukaides denies the allegations contained in Paragraph 171.

      172.   Loukaides denies the allegations contained in Paragraph 172.

      173.   To the extent that Paragraph 173 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 173.

      174.   Loukaides denies the allegations contained in Paragraph 174.

      175.   To the extent that Paragraph 175 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 175.

      176.   Loukaides denies the allegations contained in Paragraph 176.

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      177.   To the extent that Paragraph 177 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 177.




                          FIFTH CLAIM FOR RELIEF
             VIOLATION OF CONNECTICUT COMMON LAW OF UNFAIR
                               COMPETITION

      178.   Loukaides repeats and realleges his response to each and every

allegation of the preceding paragraphs with the same force and effect as if set

forth fully herein.

      179.   Loukaides denies the allegations contained in Paragraph 179.

      180.   Loukaides denies the allegations contained in Paragraph 180.

      181.   Loukaides denies the allegations contained in Paragraph 181.

      182.   Loukaides denies the allegations contained in Paragraph 182.

                            SIXTH CLAIM FOR RELIEF
                              UNJUST ENRICHMENT

      183.   Loukaides repeats and realleges his response to each and every

allegation of the preceding paragraphs with the same force and effect as if set

forth fully herein.

      184.   Loukaides denies the allegations contained in Paragraph 184.

      185.   Loukaides denies the allegations contained in Paragraph 185.

      186.   Loukaides denies the allegations contained in Paragraph 186.

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      187.   Loukaides denies the allegations contained in Paragraph 187.

                               PRAYER FOR RELIEF

      1.     To the extent that Paragraph 1 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 1.

      2.     To the extent that Paragraph 2 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 2.

      3.     To the extent that Paragraph 3 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 3.

      4.     To the extent that Paragraph 4 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 5.

      5.     To the extent that Paragraph 5 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 5.

      6.     To the extent that Paragraph 6 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 6.

      7.     To the extent that Paragraph 7 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 7.



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      8.     To the extent that Paragraph 8 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 8.

      9.     To the extent that Paragraph 9 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 9.

      10.    To the extent that Paragraph 10 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 10.

      11.    To the extent that Paragraph 11 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 11.

      12.    To the extent that Paragraph 12 sets forth conclusions of law, not

allegations of fact, no response is required; to the extent a response is required,

Loukaides denies the allegations contained in Paragraph 12.

                            AFFIRMATIVE DEFENSES

      Loukaides alleges and asserts the following affirmative defenses in

response to the allegations. By pleading the defenses set forth below, Loukaides

does not admit that he bears the burden of proof on all or any of these defenses,

and reserves all rights with respect to allocation of the burden of proof under the

applicable law.

                          FIRST AFFIRMATIVE DEFENSE

      Plaintiff has failed to state a claim upon which relief can be granted.



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                        SECOND AFFIRMATIVE DEFENSE

      The Court lacks personal jurisdiction over Loukaides.



                         OTHER DEFENSES RESERVED

      Loukaides asserts that the above affirmative defenses are based upon an

investigation that is not yet complete and without the benefit of discovery.

Loukaides reserves the right to assert all affirmative and other defenses at law or

in equity that may become known in the future.

                                  JURY DEMAND

      Loukaides demands a jury trial.

Dated:        August 14, 2018
              Westport, Connecticut

                                              JEFFREY S. BAGNELL, ESQ., LLC

                                        By:   /s/_____________________
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                             CERTIFICATE OF SERVICE

      I hereby certify that on August 14, 2018, a copy of foregoing Answer and

Affirmative Defenses was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s CM/ECF System.

                           /s/______________________
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